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                                                                  November 23, 2020


     VIA E-MAIL

     The Honorable Richard M. Berman
     United States District Judge
     Southern District of New York
     Daniel Patrick Moynihan U.S. Courthouse
     500 Pearl Street
     New York, NY 10007-1312

                    Re: United States v. James Moore, No. 18 Cr. 759 (RMB)

     Dear Judge Berman:

             We are counsel to James Moore in the above-captioned case. We write to request an
     adjournment of the status conference scheduled for December 1 because Mr. Moore is still
     awaiting transfer by the Marshals to the metropolitan area from FMC Butner in North
     Carolina. I have consulted with AUSA Martin Bell, and the parties propose the week of
     January 4, 2021, at any time convenient to the Court, as an adjourned date. If Mr. Moore is
     transported in the near term, and an earlier conference date would be feasible, the parties
     would contact the Court to explore accelerating the conference.

            We thank the Court for its attention to this request and are available to answer any
     questions.

                                                    Respectfully submitted,
Application granted. Conference is
adjourned to Wednesday, January 6,                  /s/ Michael J. Grudberg
2021 at 9:00 AM
                                                    Michael J. Grudberg


     cc:   AUSA’s Vladislav Vainberg, Martin Bell (via e-mail)



   11/24/2020
